Js 44 (WDMO Rev. 1/04) CIVIL COVER SHEET

(a) PLAINTIFFS David Steb ins DEFENDANTS

Nes A R County of Residence of First Listed | Oey, MO
(IN U.S. PLAINTIFF CASES DNLY)

NOTE: IN LAND CONDEMNATION CASES, USE ‘HE LOCATION OF THE
LAND INVOLVED.

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorney’s (Firm Name, Address, and Telephone Number) Attorneys (If Known)

(d) Does this case seek a declaratory judgment that a Missouri statute, rule or regulation is unconstitutional on its face or seek to enjoin the enforc iment of a Missouri statute,

rule or regulation as to all persons because it is unconstitutional on its face. O Yes
NOTE: Do not include cases that only allege that the State of Missouri or any of its agencies have acted unconstitutionally or petitio 1s or complaints filed by

persons confined in federal, state, county or municipal penal institutions, jail or mental institutions.

II. BASIS OF JURISDICTION = (Place an “X”* in One Box Only) Ill, CITIZENSHIP OF PRINCIPAL PARTIESGi ce an“X™ in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
DEF DEF
O 1 U.S. Govemment 5 3 Federal Question Citizen of This State O1 O 1 IncorporatedorP incipalPlace O 4 O04
Plaintiff , (U.S. Government Not a Party) of Business In‘ ‘his State
O 2 U.S. Govemment O 4 Diversity Citizen of AnotherState 02 2 Incorporated and ’rincipal Os O85
Defendant : (indicate Citizenship of Parties of Business In . nother State
in Item II)
Citizen or Subjectofa 03 © 3 Foreign Nation O 6 O86
: Foreien Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
CONTRACT TORTS . FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
DO 110 Insurance PERSONAL INJURY _PERSONAL INJURY [C1 610 Agriculture O 422 Appeal 28 USC 158 ' } 400 State Reapportionment
O 120 Marine O 310 Airplane © 362 Personal Injury— O 620 Other Food & Drug 1 410 Antitrust
QO 130 Milter Act © 315 Airplane Product Med. Malpractice O 625 Drug Related Seizure }|O 423 Withdrawal } 430 Banks and Banking
O =: 140 Negotiable Instrument Liability D 365 Personal Injury — of Property 21 USC 881 28 USC 157 J 450 Commerce/ICC Rates/etc.
0-150 Recovery of Overpayment {0} 320 Assault, Libel & Product Liability 1) 630 Liquor Laws 1] 460 Dep i
& Enforcement of Judgment Slander © 368 Asbestos Personal =| 640 RR. & Truck PROPERTY RIGHTS 1 470 Rack Influenced and
OD 151 Medicare Act Q) 330 Federat Employers’ Injury Product QO 650 Airline Regs. 1 820 Copyrights Corrupt Organizations
C152 Recovery of Defaulted Liability Liability C660 Occupational Oo 830 Patent ® } 810 Selective Service
Student Loans C) 340 Marine PERSONAL PROPERTY Safety/Health Cl 840 Trademark ) 850 Securities/Commodities/
(Excl. Veterans) © 345 Marine Product O 370 Other Fraud O 690 Other . : Exchange
O 153 Recovery of Overpayment Liability © 371 Truth in Lending 1 875C Challeng
of Veteran’s Benefits DO 350 Motor Vehicle © 380 Other P ! LABOR SOCIAL SECURITY 12 USC 3410
O 160 Stockholders’ Suits OQ 355 Motor Vehicle Property Damage : 1 891 Agricultural Acts
C190 Other Contract Product Liability C1 385 Property Damege m0 a Labor Standards o a nA So a923) 1 892 Economic Stabilization Act
O 195 Contract Product Liabilty [01 360 Other Personal Injury Product Liability (1 720 Labor/Mgmt. Relations [C863 DIWC/DIWW (405(s)) 7 893 Environmental Matters
1] 894 Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS 864 SSD Title XVI 2 895 Freedom of
€) 730 Labor/Mgmt.Reporting {© 865 RSI (405(g)) Information Act
D210 Land Condemnation O 441 Voting 5 510 Motions to Vacate & Disclosure Act
- FEDERAL TAX suits | 7 2J0APpeal of Bee
O =. 220 Foreclosure UK 442 Employment Sentence OQ 740 Railway Labor Act Determination Under
O- 230 Rent Lease & Ejectment [T] 443 Housing/ Habeas Corpus: D sor S. Plaintitr Equal Access to Justice
O =. 240 Torts to Land Accommodations O 530 General 790 Other Labor Litigation wee . nti J 950 Constitutionali
245 Tort Product Liability O 444 Welfare C1 535 Death Penalty or Defendant) Sisto Sutuwe.. of
O 290 All Other R 4 i |.
11 Other Real Property O 440 Other Civil Rights 0 o Cuil Rights &Other |O 791 Se ket C871 IRS—Third Party 1 $90 Other Statutory Actions
Q 555 Prison Condition . 26 USC 7609
V. ORIGIN

(PLACE AN “X" IN ONE BOX ONLY) Appeat to District
Of 1 original © Removed from 3 Remandedfrom 14 Reinstated O 5 Transferred from (16 muttidist ct (1 7 Judge from

Proceeding State Court Appellate Court Reopen ied another district ", Litigation Magistrate

pS Judgment
VI. CAUSE OF ACTION eee ce een names ualerc de my) Amecican®. ~/ Djs4 bi it és act
Title T disccmindtion

VII. REQUESTED IN CO CHECK IFTHISISA CLASSACTION DEMANDS 240, QO© — CHECK YES onlyi demanded in complaint
COMPLAINT: UNDER F.R.C.P. 23 JURYDEMAND: — Oves — ONo
Vill, RELATED CASE(S) (s instructions) DOCKET
ee cl
IF ANY JUDGE NUMBER —

DATE Ju ly 2 &) 20 10 SIGNATURE OF ATTORNEY OF RECORD

Case 6:10-cv-03305-RED Document 1-4 Filed 08/02/10 Page 1 of 1

